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     Attorney for CASSANDRA MUNIZ,
 5   Defendant
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. CR.S-04-0388-MCE
                                        )
12                    Plaintiff,        )   STIPULATION AND ORDER MODIFYING
                                        )   CONDITIONS OF PRETRIAL RELEASE
13        v.                            )   AND EXONERATING UNSECURED
                                        )   APPEARANCE BOND
14   CASSANDRA MUNIZ,                   )
                                        )
15                    Defendant.        )
                                        )
16                                      )
17
18        The parties hereto, by and through their counsel, stipulate and
19   agree that the conditions of pretrial release imposed by this Court on
20   September 24, 2004, later modified by stipulated Orders of December 28,
21   2004, and June 20, 2005, shall be further modified as follows:
22        1.    The following conditions are vacated:      (a) that defendant
23   Cassandra Muniz must reside at the home of Reuben and Janie Ayala; and
24   (b) that she not move or absent herself from that residence for more
25   than 24 hours without the prior approval of the Pretrial Services
26   Officer.
27        2.    The unsecured appearance bond in the amount of $50,000.00
28   executed by the defendant, Reuben Ayala and Janie Ayala, is exonerated.


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 1         3.   The following new conditions are imposed:             (1)   defendant
 2   Cassandra Muniz shall reside at a place approved by the Pretrial
 3   Services Officer; (b) the defendant shall not move or absent herself
 4   from that place of residence for more than 24 hours without the prior
 5   approval of the Pretrial Services Officer; and (c) within ten days of
 6   entry of this Order, the defendant shall execute and file herein an
 7   unsecured appearance bond in the amount of $50,000.00.
 8         All other conditions of pretrial release not specifically modified
 9   herein shall remain in full force and effect.
10         These proposed modifications are made with the approval of
11   Pretrial Services.
12
13   Dated: November 3, 2006                            /s/ Candace A. Fry
                                                        CANDACE A. FRY, Attorney for
14                                                      CASSANDRA MUNIZ, Defendant
15
16   Dated: November 3, 2006                            MCGREGOR W. SCOTT
                                                        U.S. Attorney
17
                                                        /s/ Candace A. Fry for
18                                                      PHILLIP A. TALBERT
                                                        Assistant U.S. Attorney
19
                                                        (Signed for Mr. Talbert with
20                                                      his telephonic authorization )

21
                                               O R D E R
22
23         IT IS SO ORDERED.
24   DATED: November 6, 2006.
25
26
27
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